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         Exhibit	  X	  
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                      Austin-Bergstrom International Airport to 800 Franklin Ave #301, Waco, TX 76701       Drive 107 miles, 1 hr 35 min




                                                                                                        Map data ©2022 Google   10 mi



      via I-35 N                            1 hr 35 min
      Best route now, avoids road closure     107 miles
      on S 17th St
         This route has tolls.

      via TX-130 N and I-35 N               1 hr 35 min
                                              111 miles



      via 183 Toll and I-35 N               1 hr 36 min
                                              107 miles




Explore 800 Franklin Ave #301
